        Case 4:12-cv-01722-YGR Document 50 Filed 11/05/12 Page 1 of 28



 1
   Ben F. Pierce Gore (SBN 128515)
 2 PRATT & ASSOCIATES
   1871 The Alameda, Suite 425
 3 San Jose, CA 95126
   Telephone: (408) 429-6506
 4 pgore@prattattorneys.com

 5 (Co-counsel listed on signature page)

 6 Attorneys for Plaintiffs

 7

 8

 9                            IN THE UNITED STATES DISTRICT COURT

10                        FOR THE NORTHERN DISTRICT OF CALIFORNIA

11                                         OAKLAND DIVISION

12

13 MICHAEL KOSTA and STEVE                        Case No. CV 12-01722 YGR
   BATES, individually and on behalf of all
14 others similarly situated,                     MOTION FOR APPLICATION OF
                                                  COLLATERAL ESTOPPEL
15 Plaintiffs,

16 v.                                             Hearing Date: January 15, 2013
                                                  Time: 2 p.m.
17 DEL MONTE CORPORATION,                         Judge: Hon. Yvonne Gonzalez Rogers
                                                  Action filed: April 5, 2012
18 Defendant.

19

20

21

22

23

24

25

26

27

28
        Case 4:12-cv-01722-YGR Document 50 Filed 11/05/12 Page 2 of 28



 1                                                     TABLE OF CONTENTS
 2   TABLE OF CONTENTS ...............................................................................................................ii
 3   TABLE OF AUTHORITIES.........................................................................................................iii
     STATEMENT OF ISSUES TO BE DECIDED..........................................................................viii
 4
     MEMORANDUM OF POINTS AND AUTHORITIES................................................................1
 5   I.   INTRODUCTION..............................................................................................................1
 6   II.  STATEMENT OF FACTS.................................................................................................2
          A.   The Current Litigation............................................................................................2
 7
          B.   The Fresh Del Monte Trial.....................................................................................2
 8             1.     Facts............................................................................................................2
 9             2.     Claims, Charge, and Verdict ......................................................................4
     III. ISSUES PRECLUDED ......................................................................................................6
10
     IV.  ARGUMENT AND AUTHORITIES ................................................................................7
11        A.   Applicable Law ......................................................................................................7
12        B.   Legal Standard for Collateral Estoppel ..................................................................8
          C.   The Requirements for Collateral Estoppel Are Met in this Case. ..........................9
13
               1.     Plaintiff could not have easily joined the first action.................................9
14             2.     Application of collateral estoppel to Del Monte would not be
                      unfair. .......................................................................................................10
15
               3.     The issues at stake are identical to those actually litigated in
16                    the prior action..........................................................................................11
               4.     The issues were actually litigated in the prior action. ..............................14
17
               5.     The determination of the issues in the prior litigation was a
18                    critical and necessary part of the judgment. .............................................15
               6.     There was a full and fair opportunity to litigate the issues in
19                    the previous action....................................................................................15
20             7.     The issues were lost as a result of a final judgment in the
                      previous action. ........................................................................................16
21                       8.
                        The person against whom collateral estoppel is asserted in the
                        present action was a party or in privity with a party in the
22                      previous action. ........................................................................................17
23                 9.   There are no applicable exceptions that would preclude
                        application of collateral estoppel in this case...........................................18
24   V.        CONCLUSION ................................................................................................................18
25

26

27
28
                           PLAINTIFFS’ MOTION FOR APPLICATION OF COLLATERAL ESTOPPEL
                                             CASE NO. CV 12-01722 YGR
                                                                                                                                               ii
        Case 4:12-cv-01722-YGR Document 50 Filed 11/05/12 Page 3 of 28



 1                                                     TABLE OF AUTHORITIES
 2   CASES
 3   Allen v. McCurry,
     449 U.S. 90 (1980). .......................................................................................................................8
 4
     Americana Fabrics, Inc. v. L & L Textiles, Inc.,
 5   754 F.2d 1524 (9th Cir.1985)........................................................................................................9
 6   Avitia v. Metropolitan Club,
     924 F.2d 689 (7th Cir. 1991).......................................................................................................18
 7
     Bates v. Union Oil Co.,
 8   944 F.2d 647 (9th Cir. 1991)...................................................................................................7, 16
 9   Blonder-Tongue Labs., Inc. v. Univ of Ill. Found.,
     402 U.S. 313 (1971). .....................................................................................................................8
10
     Carroll v. Puritan Leasing Co.,
11   77 Cal.App.3d 481 (1978)...........................................................................................................14
12   Charles J. Arndt, Inc. v. City of Birmingham,
     748 F.2d 1486 (11th Cir. 1984).....................................................................................................9
13
     Clark v. Bear Stearns & Co., Inc.,
14   966 F.2d 1318 (9th Cir. 1992).......................................................................................................8
15   Cleary v. News Corp.,
     30 F.3d 1255 (9th Cir. 1994).......................................................................................................12
16
     Cook, Perkiss and Liehe, Inc. v. Northern California Collection Service,
17   911 F.2d 242 (9th Cir.1990)........................................................................................................13
18   Costantini v. Trans World Airlines,
     681 F.2d 1199, 1201 (9th Cir. 1982).............................................................................................7
19
     Davenport v. De Robertis,
20   844 F.2d 1310 (7th Cir. 1988).....................................................................................................17
21   Eureka Fed. Sav. & Loan Ass'n v. American Casualty Co.,
     873 F.2d 229 (9th Cir. 1989).......................................................................................................16
22
     FDIC v. Continental Casualty Co.,
23   796 F. Supp. 1344 (D. Or. 1991).................................................................................................15
24   In re Palmer,
     207 F.3d 566 (9th Cir. 2000);........................................................................................................9
25
     In re Westgate-California Corp.,
26   642 F.2d 1174 (9th Cir. 1981).....................................................................................................15
27   John Morrell & Co. v. Local Union 304A,
     913 F.2d 544 (8th Cir. 1990).......................................................................................................17
28
                            PLAINTIFFS’ MOTION FOR APPLICATION OF COLLATERAL ESTOPPEL
                                              CASE NO. CV 12-01722 YGR
                                                                                                                                                    iii
        Case 4:12-cv-01722-YGR Document 50 Filed 11/05/12 Page 4 of 28



 1   Kamilche Co. v. United States,....................................................................................................12
     53 F.3d 1059, 1062 (9th Cir. 1995)
 2
     Klein v. Earth Elements, Inc.,
 3   59 Cal.App.4th 965 (Cal. App. 2007). ........................................................................................13
 4   Kulak v. City of New York,
     88 F.3d 63 (2d Cir. 1996). ...........................................................................................................15
 5
     Luben Indus., Inc. v. United States,
 6   707 F.2d 1037 (9th Cir. 1983).....................................................................................................16
 7   Lummus Co. v. Commonwealth Oil Refining Co.,
     297 F.2d 80 (2d Cir. 1961). .........................................................................................................17
 8
     Montana v. United States,
 9   440 U.S. 147, 155 (1979). ...............................................................................................11, 16, 18
10   Pacific Mut. Life Ins. Co. v. McConnell,
     44 Cal.2d 715 (Cal. 1955). ..........................................................................................................14
11
     Parklane Hosiery Co. v. Shore,
12   439 U.S. 322 (1979). ...........................................................................................................8, 9, 10
13   Peck v. Commissioner,
     904 F.2d 525 (9th Cir. 1990).......................................................................................................16
14
     Pena v. Gardner,
15   976 F.2d 469 (9th Cir. 1992).........................................................................................................9
16   RecoverEdge L.P. v. Pentecost,
     44 F.3d 1284 (5th Cir. 1995).......................................................................................................17
17
     Richey v. United States IRS,
18   9 F.3d 1407 (9th Cir. 1993)...................................................................................................16, 18
19   Ross-Berger Co. v. Equitable Life Assurance Soc'y,
     872 F.2d 1331 (7th Cir. 1989).......................................................................................................9
20
     S.C. Johnson & Son, Inc. v. Clorox Co.,
21   241 F.3d 232 (2d Cir. 2001). .......................................................................................................13
22   Segal v. American Tele. & Tele. Co.,
     606 F.2d 842 (9th Cir. 1979) (per curiam). .................................................................................15
23
     Southland Sod Farms v. Stover Seed Co.,
24   108 F.3d 1134 (9th Cir. 1997).....................................................................................................13
25   Starker v. United States,
     602 F.2d 1341 (9th Cir. 1979).......................................................................................8, 9, 10, 12
26
     Steen v. John Hancock Life Ins. Co.,
27   106 F.3d 904 (9th Cir. 1997).................................................................................................12, 18
28   Syverson v. IBM,
                           PLAINTIFFS’ MOTION FOR APPLICATION OF COLLATERAL ESTOPPEL
                                             CASE NO. CV 12-01722 YGR
                                                                                                                                                iv
        Case 4:12-cv-01722-YGR Document 50 Filed 11/05/12 Page 5 of 28



 1   472 F.3d 1072, 1079 (9th Cir. 2007)...........................................................................................16
 2
     United Indus. Corp. v. Clorox Co.,
 3   140 F.3d 1175 (8th Cir. 1998)....................................................................................................13
 4   United States v. Moser,
     266 U.S. 236 (1924), ...................................................................................................................16
 5
     United States v. Stauffer Chem. Co.,
 6   464 U.S. 165 (1984) ......................................................................................................................8
 7   Younger v. Jensen,
     26 Cal. 3d 397 (Cal. 1980). ...........................................................................................................7
 8
     STATUTES
 9
     15 U.S.C. § 1051, et seq. ...............................................................................................................3
10
     15 U.S.C. § 1125. ....................................................................................................................4, 12
11
     28 U.S.C. § 1291. ........................................................................................................................16
12
     CAL. BUS. & PROF. CODE § 17200.........................................................................................12, 13
13
     CAL. HEALTH. & SAFETY. CODE § 109875 et seq. .......................................................................13
14
     OTHER AUTHORITIES
15
     18-132 MOORE'S FEDERAL PRACTICE - CIVIL § 132.03. ..............................................................14
16
     18-132 MOORE'S FEDERAL PRACTICE - CIVIL § 132.05. ..............................................................15
17
     RESTATEMENT (SECOND) OF JUDGMENTS § 13 cmt. g. ................................................................17
18
     RESTATEMENT (SECOND) OF JUDGMENTS § 13. ...........................................................................16
19
     RESTATEMENT (SECOND) OF JUDGMENTS § 27, cmt. c. ...............................................................12
20
     RESTATEMENT (SECOND) OF JUDGMENTS § 27, cmt. d. ...............................................................14
21
     RESTATEMENT (SECOND) OF JUDGMENTS § 27, cmt. j. ................................................................15
22
     RESTATEMENT (SECOND) OF JUDGMENTS § 27. .............................................................................8
23

24

25

26

27
28
                            PLAINTIFFS’ MOTION FOR APPLICATION OF COLLATERAL ESTOPPEL
                                              CASE NO. CV 12-01722 YGR
                                                                                                                                                    v
       Case 4:12-cv-01722-YGR Document 50 Filed 11/05/12 Page 6 of 28



 1                               NOTICE OF MOTION AND MOTION
 2          TO DEFENDANT AND ITS COUNSEL OF RECORD:
 3          PLEASE TAKE NOTICE THAT on January 15, 2013, at 2 p.m.,, or as soon thereafter as
 4
     the matter may be heard, in the United States District Court, Northern District of California, San
 5
     Jose Division, located at 1301 Clay Street, Oakland, California, in Courtroom 5 before the
 6
     Honorable Yvonne Gonzalez Rogers, Plaintiffs Michael Kosta and Steve Bates will and hereby do
 7

 8   move the Court to issue a ruling that the following issues are established through the doctrine of

 9   collateral estoppel:

10      •   Del Monte marketed, advertised, packaged, and labeled its Fruit Bowl, Fruit Naturals,
            Superfruit and SunFresh products in a manner that conveys to consumers the false and
11          misleading message that those products are fresh fruit, as opposed to preserved fruit.
12      •   Del Monte falsely labeled its Fruit Bowl, Fruit Naturals, Superfruit and SunFresh products
            as “Must Be Refrigerated,” and sold some of the products in plastic, transparent, bowl-
13          shaped containers identical to those used by other producers for fresh, refrigerated cut
            produce.
14
        •   The labels on Del Monte’s Fruit Bowl, Fruit Naturals, Superfruit and SunFresh products are
15          literally false by stating the products “Must Be Refrigerated.”
16      •   The labels on Del Monte’s Fruit Bowl, Fruit Naturals, Superfruit and SunFresh products are
            literally false by not stating the products are pasteurized.
17
        •   The labels on Del Monte’s Fruit Bowl, Fruit Naturals, Superfruit and SunFresh products are
18          literally false by not stating the products contain “preservatives.”
19      •   Del Monte’s practice of packaging some of its products in plastic, transparent, bowl-shaped
            containers identical to those used by other producers for fresh, refrigerated cut produce
20          conveyed to consumers a false impression of freshness.
21      •   The labels on the foods complained of in Plaintiff’s complaint — Del Monte’s Fruit Natural,
            SuperFruit and SunFresh products — were not compliant with FDA Refrigeration
22          guidelines, including 21 C.F.R. §§ 101.95.
23      •   The false “freshness” message from Del Monte’s false labeling of its Fruit Bowl, Fruit
            Naturals, Superfruit and SunFresh products actually deceived or had the tendency to deceive
24          a substantial portion of the target audience.
25      •   The false “freshness” message from Del Monte’s false labeling of its Fruit Bowl, Fruit
            Naturals, Superfruit and SunFresh products was material in that it was likely to influence
26          purchasing decisions
27      •   Del Monte’s marketing, advertising, packaging, and labeling of its Fruit Bowl, Fruit
            Naturals, Superfruit and SunFresh products made or conveyed false or misleading
28          statements or messages about the freshness of product.
                      PLAINTIFFS’ MOTION FOR APPLICATION OF COLLATERAL ESTOPPEL
                                        CASE NO. CV 12-01722 YGR
                                                                                                     vi
       Case 4:12-cv-01722-YGR Document 50 Filed 11/05/12 Page 7 of 28



 1      •   Del Monte intentionally marketed, advertised, packaged, and labeled its Fruit Bowl, Fruit
            Naturals, Superfruit and SunFresh products to appear like fresh cut fruit.
 2
        •   Del Monte consciously and deliberately chose to not follow FDA guidelines, including 21
 3          C.F.R. §§ 101.95 by labeling its Fruit Bowl, Fruit Naturals, Superfruit and SunFresh
            products as “Must be Refrigerated.”
 4
        •   Del Monte’s marketing, advertising, packaging, and labeling of its Fruit Bowl, Fruit
 5          Naturals, Superfruit and SunFresh products gave consumers the false impression that those
            products are fresh fruit, as opposed to preserved fruit.
 6
        •   Del Monte’s marketing, advertising, packaging, and labeling of its marketed, advertised,
 7          packaged, and labeled its Fruit Bowl, Fruit Naturals, Superfruit and SunFresh products
            actually caused consumers to have that false impression that those products are fresh fruit,
 8          as opposed to preserved fruit, or was likely to cause that impression.
 9      •   Del Monte knew its marketing, advertising, packaging, and labeling of its marketed,
            advertised, packaged, and labeled its Fruit Bowl, Fruit Naturals, Superfruit and SunFresh
10          products gave consumers the false impression that those products are fresh fruit, as opposed
            to preserved fruit.
11
        •   Del Monte designed its marketing, advertising, packaging, and labeling of its marketed,
12          advertised, packaged, and labeled its Fruit Bowl, Fruit Naturals, Superfruit and SunFresh
            products with the intent to give consumers the false impression that those products are fresh
13          fruit, as opposed to preserved fruit.
14          Plaintiffs’ motion is based on this Notice of Motion and Motion, the attached Memorandum

15   of Points and Authorities, the Declaration of Pierce Gore and Exhibits thereto, the court’s record in

16   Fresh Del Monte Produce, Inc., v. Del Monte Foods Company and Del Monte Corporation, Case

17   No. 1:08-cv-08718-SHS, in the United States District Court for the Southern District of New York,

18   the Proposed Order Granting Motion for Application of Collateral Estoppel, all pleadings and

19   papers filed in this action, oral argument of counsel, and any other matters that may come before

20   the Court.

21

22

23

24

25

26

27
28
                     PLAINTIFFS’ MOTION FOR APPLICATION OF COLLATERAL ESTOPPEL
                                       CASE NO. CV 12-01722 YGR
                                                                                                       vii
       Case 4:12-cv-01722-YGR Document 50 Filed 11/05/12 Page 8 of 28



 1                              STATEMENT OF ISSUES TO BE DECIDED
 2                                           CIVIL L.R. 7-4(a)(3)
 3
               1.    Whether Plaintiff could have easily joined in Fresh Del Monte Produce, Inc., v. Del
 4
     Monte Foods Company and Del Monte Corporation, Case No. 1:08-cv-08718-SHS, in the United
 5
     States District Court for the Southern District of New York (the Fresh Del Monte case).
 6
               2.    Whether application of collateral estoppel to Del Monte Corporation would be
 7
     unfair.
 8
               3.    Whether the issues at stake are identical to those actually litigated in the Fresh Del
 9
     Monte case.
10
               4.    Whether the issues at stake were actually litigated in the Fresh Del Monte case.
11
               5.    Whether the issues at stake were critical and necessary to the determination of the
12
     issues in the Fresh Del Monte case.
13
               6.    Whether Del Monte Corporation had a full and fair opportunity to litigate the issues
14
     at stake in the Fresh Del Monte case.
15
               7.    Whether the issues at stake were adjudicated as a result of a final judgment in the
16
     Fresh Del Monte case.
17
               8.    Whether there are any applicable exceptions that would preclude the application of
18
     collateral estoppel in this case.
19

20

21

22

23

24

25

26

27
28
                      PLAINTIFFS’ MOTION FOR APPLICATION OF COLLATERAL ESTOPPEL
                                        CASE NO. CV 12-01722 YGR
                                                                                                        viii
        Case 4:12-cv-01722-YGR Document 50 Filed 11/05/12 Page 9 of 28



 1                        MEMORANDUM OF POINTS AND AUTHORITIES
 2
            Plaintiffs Michael Kosta and Steve Bates, by and through the undersigned counsel, move the
 3
     Court to grant preclusive effect to certain issues determined by the jury in the United States District
 4
     Court for the Southern District of New York in an action brought by Fresh Del Monte Produce, Inc.
 5
     against Del Monte Corporation (hereinafter “Del Monte” or “Defendant”), the defendant in this
 6
     litigation, and Del Monte Foods Company. The issues for which Plaintiffs seek application of the
 7
     collateral estoppel doctrine are among the findings of the jury in Fresh Del Monte Produce Inc. v.
 8
     Del Monte Foods Company, Case No. 08-cv-8718.
 9

10 I.        INTRODUCTION
            Plaintiffs are purchasers of Del Monte’s food products, and rely on Del Monte’s product
11
     labeling in making decisions to purchase and consume Del Monte’s products. Identical federal and
12
     California laws require truthful, accurate information on the labels of packaged foods. This case is
13
     about a company that flouts those laws and knowingly sells misbranded food to unsuspecting
14
     consumers. The law, however, is clear: misbranded food cannot legally be manufactured, held,
15
     advertised, distributed, or sold. Misbranded food is worthless as a matter of law, and purchasers of
16
     misbranded food are entitled to a refund of their purchase price.
17
            Del Monte’s product misbranding has been established conclusively. In October 2008, Fresh
18
     Del Monte Produce, an unaffiliated entity, brought suit against Del Monte alleging breach of
19
     contract and Lanham Act violations. At trial in 2012, the jury found, and Del Monte’s own
20
     employees admitted, inter alia, that Del Monte deliberately misled consumers into believing its
21
     products were fresh, misled consumers about preservatives in its products, and that Del Monte had
22
     actual knowledge that its products’ labeling deceived consumers.
23
            Concerns of judicial efficiency and fundamental fairness dictate that in the instant litigation,
24
     the Court should conserve its valuable time and resources, and those of the judicial system, by
25
     refusing to allow Del Monte to relitigate what another federal court has already conclusively
26
     decided.
27

28
                       PLAINTIFFS’ OPPOSITION TO DEFENDANT’S MOTION TO DISMISS
                                        CASE NO. CV 12-01722 YGR
                                                                                                          1
         Case 4:12-cv-01722-YGR Document 50 Filed 11/05/12 Page 10 of 28



 1   II.     STATEMENT OF FACTS
 2           A.       THE CURRENT LITIGATION
 3           For several years, consumers have begun to favor healthier options in purchasing food

 4   products. Del Monte has implemented an apparent health and wellness strategy that repositions its

 5   products as a healthy option for consumers. Del Monte uses unlawful, false, and misleading nutrient

 6   content and health claims to promote and market its food products. Through its labels, Del Monte

 7   intentionally deceives consumers in the following ways:

 8                •   by using unlawful, misleading and false antioxidant claims on its products’ labels
                      and labeling. For example, Del Monte’s labels include claims of antioxidants in
 9                    canned tomatoes that do not meet minimum regulatory requirements;
10                •   by using unlawful, misleading and false nutrient content claims on its products’
                      labels and labeling. For example, Del Monte’s labels include nutrient content claims
11                    about Del Monte’s products when such claims are false and are prohibited by federal
                      and California law;
12
                  •   by using unlawful, misleading and false fresh claims. For example, Del Monte’s
13                    labels include “fresh” on Del Monte products that are not fresh; and
14                •   by using unlawful, misleading and false “100% natural” claims on its products’
                      labels and labeling. For example, Del Monte’s labels include “free of artificial
15                    ingredients & preservatives” on the labels of Del Monte’s canned tomatoes that
                      contain artificial ingredients and preservatives, and “natural” claims on labels of Del
16                    Monte products that contain ingredients that are not natural.
17           This motion relates to Del Monte’s unlawful, false and misleading “fresh” claims with

18   respect to its Fruit Bowls, Fruit Naturals, Superfruit, and SunFresh product lines.

19           B.       THE FRESH DEL MONTE TRIAL
20                    1.     Facts
21           The factual issues central to the current litigation, Del Monte’s misbranding of its food

22   products, were examined by the jury in the Fresh Del Monte trial, and the evidence at trial

23   demonstrated that Del Monte’s false marketing of its food products1 was part of a deliberate,

24   decade-long strategy to learn about and exploit product attributes that create a perception of

25   freshness in the minds of consumers.

26

27   1
      The products at issue in the Fresh Del Monte trial were products in the Fruit Bowl, SunFresh,
28   Fruit Naturals, SuperFruit, and Orchard Select lines. These products, with the exception of the
     Orchard Select products are also at issue in the case sub judice.
                       PLAINTIFFS’ MOTION FOR APPLICATION OF COLLATERAL ESTOPPEL
                                         CASE NO. CV 12-01722 YGR
                                                                                                           2
         Case 4:12-cv-01722-YGR Document 50 Filed 11/05/12 Page 11 of 28



 1           The Fresh Del Monte jury found that Del Monte violated 15 U.S.C. § 1051, et seq. (the
 2   “Lanham Act”) in the marketing of its products and that Del Monte acted willfully in misleading
 3   consumers into believing that its products are fresh.2 Evidence at trial established the following:
 4              a) Del Monte is not troubled that consumers thought Del Monte’s “fresh” fruit was
                   fresh when actually, it is not fresh;3
 5
                b) Del Monte does not use the word “preservatives” on newer products to avoid a
 6                 negative consumer reaction to the product;4
 7              c) At least five of Del Monte’s pasteurized products are not labeled as such;5
 8              d) Del Monte consciously disregarded FDA guidelines by labeling its cut fruit products
                   “Must Be Refrigerated.” This labeling statement is false because those products do
 9                 not require refrigeration. In fact, Del Monte has never tested its chemically
                   preserved products that are labeled “Must Be Refrigerated” at ambient
10                 temperatures;6 and
11              e) Del Monte conducted specific research to confirm that it was successfully
                   convincing consumers that its preserved products were fresh with knowledge that
12                 substantial and significant portion of consumers were being misled into believing the
                   products in the advertisements were fresh.7
13
             Del Monte has chosen not to challenge the jury’s verdict.8 In response to the jury’s
14
     findings, Del Monte is changing its labeling to “refrigerate for quality” and adding “pasteurized”
15
     for the following products: SunFresh Mandarin Orange, Fruit Naturals Peaches, Fruit Naturals NSA
16
     Peaches, and Fruit Natural Mandarin Orange. Del Monte is also changing its labels to include
17

18

19   2
       The jury found that Del Monte had not violated the Lanham Act with respect to its Orchard Select
20   line. See Gore Decl., Exhibit 1, Verdict Form, Fresh Del Monte Document 168-1 at 2-3. Note: All
     page cites for documents filed in the Fresh Del Monte case refer to the page number stamped by the
21   court at the top of the page.
     3
       Gore Decl., Exhibit 2, Excerpts from trial testimony appended to Declaration of Anthony J. Dryer,
22   Fresh Del Monte Document 149 at 44.
     4
23     Gore Decl., Exhibit 2, Excerpts from trial testimony appended to Declaration of Anthony J. Dryer,
     Fresh Del Monte Document 149 at 28.
24   5
       Gore Decl., Exhibit 2, Excerpts from trial testimony appended to Declaration of Anthony J. Dryer,
     Fresh Del Monte Document 149 at 32-36.
25   6
       Gore Decl., Exhibit 2, Excerpts from trial testimony appended to Declaration of Anthony J. Dryer,
26   Fresh Del Monte Document 149 at 29-31, 37-40.
     7
       Gore Decl., Exhibit 3, Fresh Del Monte’s memorandum in support of permanent injunction, Fresh
27   Del Monte Document 148 at 11.
     8
28     Gore Decl., Exhibit 4, Del Monte’s opposition to motion for permanent injunction, Fresh Del
     Monte Document 167 at 5.
                     PLAINTIFFS’ MOTION FOR APPLICATION OF COLLATERAL ESTOPPEL
                                       CASE NO. CV 12-01722 YGR
                                                                                                           3
         Case 4:12-cv-01722-YGR Document 50 Filed 11/05/12 Page 12 of 28



 1   “preservatives” instead of “preserved for quality.”9 These new labels will reportedly be available
 2   on the market in January 2013.10
 3                    2.      Claims, Charge, and Verdict
 4             The parties set out Fresh Del Monte’s Lanham Act claim in the Joint Pretrial Order as
 5   follows:
 6             Fresh Del Monte challenges the marketing, advertising, packaging, and labeling of
               refrigerated fruit products under the "Del Monte" name and related "Del Monte"
 7             trademarks as false and misleading pursuant to Section 43(a) of the Lanham Act, 15
               U.S.C. § 1125(a). These include the “Orchard Select,” “Sun Fresh,” “Fruit
 8             Naturals,” “Superfruit” and "Fruit Bowls" product lines (collectively, the “Accused
               Products”). Specifically, Fresh Del Monte asserts that Del Monte Foods has
 9             marketed, advertised, packaged, and labeled the Accused Products in a manner that
               conveys to consumers the false and misleading message that those products are fresh
10             fruit, as opposed to preserved fruit. For example, Fresh Del Monte asserts that Del
               Monte Foods has falsely labeled some of its products as “Must Be Refrigerated,”
11             and sold some of the products in plastic, transparent, bowl-shaped containers
               identical to those used by other producers for fresh, refrigerated cut produce. Fresh
12             Del Monte will introduce at trial: (a) expert survey evidence demonstrating that
               consumers perceive a false “freshness” message from the challenged advertising and
13             products; (b) evidence demonstrating that Del Monte Foods intentionally designed
               and marketed the Accused Products to appear like fresh cut fruit; and (c) consumer
14             surveys commissioned by Del Monte Foods that show that consumers had that false
               impression about these products and advertisements for these products.11
15
               The Joint Pretrial Order also recited that Del Monte asserted several affirmative defenses,
16
     including the following:
17
               [Del Monte Foods] asserts that the Del Monte Foods advertisements and packaging
18             challenged by Fresh Del Monte are factually accurate, literally true, and are not in
               any way false or misleading, either expressly or by implication. Del Monte Foods
19             denies that its proper and legitimate representations have confused or are likely to
               confuse consumers, and further denies that its representations were designed with
20             that intent. Del Monte Foods will introduce at trial evidence in the form of expert
               testimony that it contends will establish that Fresh Del Monte's survey is
21             fundamentally flawed and unreliable.12
22             In the charge, the court explained the Lanham Act claims as follows:
23             First, Fresh Del Monte contends that Del Monte Corporation has marketed five of its
               cut-fruit product lines using false or misleading practices that led many consumers to
24

25   9
        Gore Decl., Exhibit 5, Declaration of Shaily Sanghvi in support of Del Monte’s opposition to
     motion for permanent injunction, Fresh Del Monte Document 170 at 2-3.
26   10
        Gore Decl., Exhibit 6, Revised Proposed Injunction Language, Fresh Del Monte Document 172-2
27   at 2.
     11
        Gore Decl., Exhibit 7, Joint Pretrial Order, Fresh Del Monte Document 129 at 3-4.
28   12
          Gore Decl., Exhibit 7, Joint Pretrial Order, Fresh Del Monte Document 129 at 6.
                       PLAINTIFFS’ MOTION FOR APPLICATION OF COLLATERAL ESTOPPEL
                                         CASE NO. CV 12-01722 YGR
                                                                                                        4
      Case 4:12-cv-01722-YGR Document 50 Filed 11/05/12 Page 13 of 28



 1            believe that the products are fresh. The five product lines at issue are Del Monte
              Corporation's cut-fruit product lines sold under the names Fruit Bowl, Fruit Naturals,
 2            Superfruit, Sunfresh, and Orchard Select. Del Monte Corporation has denied that its
              conduct has been deceptive or improper in any way.13
 3
                                                       * * *
 4
              Fresh Del Monte's first claim is that Del Monte Corporation, the defendants, used
 5            false or misleading statements or representations in marketing its cut-fruit products
              in the Fruit Bowl, Fruit Naturals, Superfruit, Sunfresh, and Orchard Select product
 6            line. The challenged statements or representations led consumers to believe that
              those products were fresh and not preserved. That's the first claim.14
 7
                                                       * * *
 8
              To prevail on a claim that a competitor's advertising violated the Lanham Act, the
 9            plaintiff must prove by a preponderance of the evidence the following five elements,
              and remember, ladies and gentlemen, you'll have a copy of this charge in the jury
10            room:
11            One, the advertiser made or conveyed false or misleading statements or messages
              about its own or competitor's product or services; two, the advertiser's false or
12            misleading statements or messages actually deceived or had the tendency to deceive
              a substantial portion of the target audience; three, the advertiser's statement was
13            material in that it was likely to influence purchasing decisions; four, as a result of the
              statement, there was a likelihood of injury to the business of the plaintiff; and, five,
14            the advertising has a connection to interstate commerce.15
15            The jury found that Del Monte’s marketing violated the Lanham Act with respect to the

16   Fruit Bowl, Fruit Naturals, Superfruit, and SunFresh product lines.16 The jury further found that the

17   Lanham Act violation was willful.17

18            In this case, Plaintiffs have alleged that Del Monte’s Fruit Naturals, SunFresh, and

19   Superfruit fruit products were misbranded for a number of reasons, including those set out in the

20

21   13
        Gore Decl., Exhibit 8, Transcript at 1235, Fresh Del Monte Document 161 at 85.
22   14
        Gore Decl., Exhibit 8, Transcript at 1236, Fresh Del Monte Document 161 at 86.
     15
23      See Gore Decl., Exhibit 8, Transcript at 1237, Fresh Del Monte Document 161 at 87. The court
     explained each of the elements (other than interstate commerce, which was not contested) in detail.
24   See Gore Decl., Exhibit 8, Transcript at 1238-43, Fresh Del Monte Document 161 at 88-94.
     16
        See Gore Decl., Exhibit 1, Verdict Form, Fresh Del Monte Document 168-1 at 1. The jury found
25   no Lanham Act violation in Del Monte’s marketing of its Orchard Select products. In closing, Del
     Monte’s counsel had told the jury: “Must be refrigerated. The Orchard Select doesn't say must be
26   refrigerated, it says best if refrigerated, so this must be refrigerated complaint that they have doesn't
     apply to Orchard Select at all.” Gore Decl., Exhibit 8, Transcript at 1286, Fresh Del Monte
27   Document 161 at 136. In this case, Plaintiff has not alleged that Del Monte’s Orchard Select
     products were misbranded.
28   17
          See Gore Decl., Exhibit 1, Verdict Form, Fresh Del Monte Document 168-1 at 2.
                       PLAINTIFFS’ MOTION FOR APPLICATION OF COLLATERAL ESTOPPEL
                                         CASE NO. CV 12-01722 YGR
                                                                                                            5
      Case 4:12-cv-01722-YGR Document 50 Filed 11/05/12 Page 14 of 28



 1   Joint Pretrial Order and the court’s charge in Fresh Del Monte.18
 2   III.       ISSUES PRECLUDED
 3              Plaintiffs respectfully request that the Court apply the doctrine of collateral estoppel to the
 4   jury’s findings that are relevant to the following issues, which are derived from the issues as stated
 5   in the Joint Pretrial Order, the court’s charge, and the verdict form in Fresh Del Monte:
 6          •   Del Monte marketed, advertised, packaged, and labeled its Fruit Bowl, Fruit Naturals,
                Superfruit and SunFresh products in a manner that conveys to consumers the false and
 7              misleading message that those products are fresh fruit, as opposed to preserved fruit.
 8          •   Del Monte falsely labeled its Fruit Bowl, Fruit Naturals, Superfruit and SunFresh products
                as “Must Be Refrigerated,” and sold some of the products in plastic, transparent, bowl-
 9              shaped containers identical to those used by other producers for fresh, refrigerated cut
                produce.
10
            •   The labels on Del Monte’s Fruit Bowl, Fruit Naturals, Superfruit and SunFresh products are
11              literally false by stating the products “Must Be Refrigerated.”19
12          •   The labels on Del Monte’s Fruit Bowl, Fruit Naturals, Superfruit and SunFresh products are
                literally false by not stating the products are pasteurized.
13
            •   The labels on Del Monte’s Fruit Bowl, Fruit Naturals, Superfruit and SunFresh products are
14              literally false by not stating the products contain “preservatives.”
15          •   Del Monte’s practice of packaging some of its products in plastic, transparent, bowl-shaped
                containers identical to those used by other producers for fresh, refrigerated cut produce
16              conveyed to consumers a false impression of freshness.
17          •   The labels on the foods complained of in Plaintiff’s complaint — Del Monte’s Fruit Natural,
                SuperFruit and SunFresh products — were not compliant with FDA Refrigeration
18              guidelines, including 21 C.F.R. §§ 101.95.
19          •   The false “freshness” message from Del Monte’s false labeling of its Fruit Bowl, Fruit
                Naturals, Superfruit and SunFresh products actually deceived or had the tendency to deceive
20              a substantial portion of the target audience.
21

22   18
        See, e.g., Amended Complaint [Doc. 23] at ¶¶46-73, 89-90, 248. Plaintiffs have also alleged that
     Del Monte’s “Citrus Bowls" fruit products were misbranded, but it does not appear that Del
23   Monte’s marketing of those products was at issue in Fresh Del Monte.
     19
24      Based on the jury argument and the finding of no Lanham Act violation on the Orchard Select
     product line, it appears that one thing the jury found particularly offensive was the “Must Be
25   Refrigerated” on the labels of the other products (as opposed to the “best if refrigerated” on the
     Orchard Select line). In closing, Del Monte’s counsel had told the jury: “Must be refrigerated. The
26   Orchard Select doesn't say must be refrigerated, it says best if refrigerated, so this must be
     refrigerated complaint that they have doesn't apply to Orchard Select at all.” See Gore Decl.,
27   Exhibit 8, Transcript at 1286, Fresh Del Monte Document 161 at 136. That appears to be the only
     significant distinguishing factor raised in the argument. The jury found no Lanham Act violation in
28   Del Monte’s marketing of its Orchard Select products. See Gore Decl., Exhibit 1, Verdict Form,
     Fresh Del Monte Document 168-1 at 1.
                        PLAINTIFFS’ MOTION FOR APPLICATION OF COLLATERAL ESTOPPEL
                                          CASE NO. CV 12-01722 YGR
                                                                                                             6
      Case 4:12-cv-01722-YGR Document 50 Filed 11/05/12 Page 15 of 28



 1         •   The false “freshness” message from Del Monte’s false labeling of its Fruit Bowl, Fruit
               Naturals, Superfruit and SunFresh products was material in that it was likely to influence
 2             purchasing decisions.
 3         •   Del Monte’s marketing, advertising, packaging, and labeling of its Fruit Bowl, Fruit
               Naturals, Superfruit and SunFresh products made or conveyed false or misleading
 4             statements or messages about the freshness of product.
 5         •   Del Monte intentionally marketed, advertised, packaged, and labeled its Fruit Bowl, Fruit
               Naturals, Superfruit and SunFresh products to appear like fresh cut fruit.
 6
           •   Del Monte consciously and deliberately chose to not follow FDA guidelines, including 21
 7             C.F.R. §§ 101.95, by labeling its Fruit Bowl, Fruit Naturals, Superfruit and SunFresh
               products as “Must be Refrigerated.”
 8
           •   Del Monte’s marketing, advertising, packaging, and labeling of its Fruit Bowl, Fruit
 9             Naturals, Superfruit and SunFresh products gave consumers the false impression that those
               products are fresh fruit, as opposed to preserved fruit.
10
           •   Del Monte’s marketing, advertising, packaging, and labeling of its Fruit Bowl, Fruit
11             Naturals, Superfruit and SunFresh products actually caused consumers to have the false
               impression that those products are fresh fruit, as opposed to preserved fruit, or was likely to
12             cause that impression.
13         •   Del Monte knew its marketing, advertising, packaging, and labeling of its Fruit Bowl, Fruit
               Naturals, Superfruit and SunFresh products gave consumers the false impression that those
14             products are fresh fruit, as opposed to preserved fruit.
15         •   Del Monte designed its marketing, advertising, packaging, and labeling of its Fruit Bowl,
               Fruit Naturals, Superfruit and SunFresh products with the intent to give consumers the false
16             impression that those products are fresh fruit, as opposed to preserved fruit.
17   IV.       ARGUMENT AND AUTHORITIES
18             A.     APPLICABLE LAW
19             In a diversity action, the forum state's law applies to determine the preclusive effect of a

20   previous judgment, even where the previous judgment was issued by a federal court under diversity

21   jurisdiction. Bates v. Union Oil Co., 944 F.2d 647, 649 (9th Cir. 1991). According to the Ninth

22   Circuit, “a federal court sitting in diversity must apply the res judicata law of the state in which it

23   sits.”    Costantini v. Trans World Airlines, 681 F.2d 1199, 1201 (9th Cir. 1982). However,

24   California law determines the res judicata effect of a prior federal court judgment by applying

25   federal standards. Costantini, 681 F.2d at 1201; see also Bates, 944 F.2d at 649 (assuming that

26   Oregon, like Washington and California, would apply federal law on offensive collateral estoppel);

27   Younger v. Jensen, 26 Cal. 3d 397, 411 (Cal. 1980) (preclusive effect of a prior federal judgment is

28

                       PLAINTIFFS’ MOTION FOR APPLICATION OF COLLATERAL ESTOPPEL
                                         CASE NO. CV 12-01722 YGR
                                                                                                            7
      Case 4:12-cv-01722-YGR Document 50 Filed 11/05/12 Page 16 of 28



 1   a matter governed by federal law). Consequently, federal law sets the standard for application of
 2   collateral estoppel in this case.
 3           B.      LEGAL STANDARD FOR COLLATERAL ESTOPPEL
 4           The common-law doctrine of collateral estoppel — also known as issue preclusion — is
 5   designed to “relieve parties of the cost and vexation of multiple lawsuits, conserve judicial
 6   resources, and, by preventing inconsistent decisions, encourage reliance on adjudication.” Allen v.
 7   McCurry, 449 U.S. 90, 94 (1980); see also Blonder-Tongue Labs., Inc. v. Univ of Ill. Found., 402
 8   U.S. 313, 328-29 (1971). Collateral estoppel applies to both issues of law and issues of fact. United
 9   States v. Stauffer Chem. Co., 464 U.S. 165, 170-171 (1984); see also RESTATEMENT (SECOND) OF
10   JUDGMENTS § 27. In Parklane Hosiery Co. v. Shore, 439 U.S. 322 (1979), the Supreme Court
11   recognized that collateral estoppel is appropriate in cases such as this, where Plaintiffs were not
12   party to an original action—in this case, the Fresh Del Monte trial. Id. at 326-27.
13           The Supreme Court has said that trial courts have broad discretion to determine when
14   offensive collateral estoppel should be applied. The general rule should be that in cases where a
15   plaintiff could easily have joined in the earlier action or where the application of offensive estoppel
16   would be unfair to a defendant, a trial judge should not allow the use of offensive collateral
17   estoppel. Parklane Hosiery, 439 U.S. at 331. On the other hand, “[i]f the plaintiff could not ‘easily
18   have joined in the first action,’ if there is no unfairness to the defendant, and if the defendant had a
19   full and fair opportunity to litigate the issue in the first suit, then collateral estoppel should apply.”
20   Starker v. United States, 602 F.2d 1341, 1349 (9th Cir. 1979).
21           The Ninth Circuit has said that collateral estoppel applies to a question, issue, or fact when:
22           (1) the issue at stake [is] identical to the one alleged in the prior litigation;
23           (2) the issue [was] actually litigated in the prior litigation; and
24           (3) the determination of the issue in the prior litigation [was] a critical and necessary
             part of the judgment in the action."
25
     Clark v. Bear Stearns & Co., Inc., 966 F.2d 1318, 1320 (9th Cir. 1992). In a somewhat different
26
     formulation, the Ninth Circuit has said that collateral estoppel is appropriate when the following
27
     elements are met:
28

                      PLAINTIFFS’ MOTION FOR APPLICATION OF COLLATERAL ESTOPPEL
                                        CASE NO. CV 12-01722 YGR
                                                                                                               8
      Case 4:12-cv-01722-YGR Document 50 Filed 11/05/12 Page 17 of 28



 1          (1) there was a full and fair opportunity to litigate the issue in the previous action;
 2          (2) the issue was actually litigated in that action;
 3          (3) the issue was lost as a result of a final judgment in that action; and
 4          (4) the person against whom collateral estoppel is asserted in the present action was
            a party or in privity with a party in the previous action.
 5
     In re Palmer, 207 F.3d 566, 568 (9th Cir. 2000); Pena v. Gardner, 976 F.2d 469, 472 (9th Cir.
 6
     1992); see also Parklane Hosiery, 439 U.S. at 329.
 7
            In the absence of any unfairness to Del Monte, the law is clear that “a party should get only
 8
     one opportunity to litigate a dispute. Any other rule could generate endless litigation, and other
 9
     parties would not be able to obtain peace. Once an issue of fact has been decided in a previous
10
     proceeding, it cannot be re-litigated.” Americana Fabrics, Inc. v. L & L Textiles, Inc., 754 F.2d
11
     1524, 1529 (9th Cir.1985).
12
            C.      THE REQUIREMENTS FOR COLLATERAL ESTOPPEL ARE MET IN THIS CASE.
13
                    1.      Plaintiff could not have easily joined the first action.
14
            While the Supreme Court did not elaborate in Parklane Hosiery on what it meant by a case
15
     the plaintiff could “easily have joined,” the Ninth Circuit has indicated that it is not just a matter of
16
     whether joinder would be allowed under Rule 20, but rather whether the plaintiff “adopted a ‘wait-
17
     and-see’ attitude for the obvious purpose of eluding the binding force of an initial resolution of a
18
     simple issue.” See Starker v. United States, 602 F.2d at 1349-50. That did not happen here.
19
            Plaintiffs had no knowledge of Fresh Del Monte’s action against Del Monte until the jury
20
     verdict. Thus, Plaintiffs could not have joined in the Fresh Del Monte action. Cf. Charles J. Arndt,
21
     Inc. v. City of Birmingham, 748 F.2d 1486, 1494-95 (11th Cir. 1984) (no abuse of discretion in
22
     refusing to apply non-mutual offensive collateral estoppel because plaintiff was aware of prior
23
     litigation and chose not to join). Furthermore, it would not be easy for a California resident to bring
24
     California state law claims in an already complex case in New York involving federal Lanham Act
25
     and New York unfair competition and breach of contract claims. See Ross-Berger Co. v. Equitable
26
     Life Assurance Soc'y, 872 F.2d 1331, 1337-1338 n.2 (7th Cir. 1989) (prior complex litigation
27
     involved different type of claim and was “relatively complicated,” including counterclaim; complex
28

                     PLAINTIFFS’ MOTION FOR APPLICATION OF COLLATERAL ESTOPPEL
                                       CASE NO. CV 12-01722 YGR
                                                                                                            9
      Case 4:12-cv-01722-YGR Document 50 Filed 11/05/12 Page 18 of 28



 1   damages issues were wholly unrelated to plaintiff's claim in instant case). Under the circumstances,
 2   even if Plaintiffs had known about the Fresh Del Monte case (which they didn’t), and even if New
 3   York was a convenient forum (which it isn’t), even if they knew they had claims against Del Monte
 4   at a time when intervention might have been feasible (which they didn’t), there is still no reason to
 5   believe that a federal court in New York would allow them to intervene into an already complex
 6   case.
 7                      2.    Application of collateral estoppel to Del Monte would not be unfair.
 8           In determining whether application of collateral estoppel would be unfair to a defendant, the
 9   Court should consider the following: 1) whether the defendant had every incentive to fully and
10   vigorously litigate, 2) whether future suits were foreseeable, 3) whether there are prior inconsistent
11   judgments, and 4) whether procedural opportunities are available that were unavailable in the prior
12   action that might be likely to cause a different result. Parklane Hosiery, 439 U.S at 330-31; Starker
13   v. United States, 602 F.2d at 1349. Here, these factors are satisfied and collateral estoppel should
14   be applied.
15                            a.     Del Monte Had Every Incentive to Defend the Issues of Liability
                                     in the Fresh Del Monte Action.
16
             The Fresh Del Monte action took approximately three and a half years to litigate. The action
17
     involved serious allegations against Del Monte, including, inter alia, that, Del Monte’s false
18
     advertising, via its product labels, was willful. Accordingly, Del Monte had every incentive to
19
     vigorously litigate the issues that are the subject of this motion in the Fresh Del Monte action to
20
     avoid liability.
21
                              b.     Future Suits Against Del Monte for the Conduct Alleged and
22                                   Tried in the Fresh Del Monte Action Were Foreseeable.
23           Moreover, while litigating the Fresh Del Monte action, it was foreseeable to Del Monte that
24   private actions relating to its false advertising and marketing of its food products would be brought
25   against them should Fresh Del Monte prevail on its claims. Central to the Fresh Del Monte action
26   was Del Monte’s deception of consumers through its product labels. It was entirely foreseeable that
27   consumers, who relied on Del Monte’s product labels for nutritional information, would bring suit
28   against Del Monte after a determination that Del Monte’s labels contained false information,

                         PLAINTIFFS’ MOTION FOR APPLICATION OF COLLATERAL ESTOPPEL
                                           CASE NO. CV 12-01722 YGR
                                                                                                        10
      Case 4:12-cv-01722-YGR Document 50 Filed 11/05/12 Page 19 of 28



 1   including that the products contained preservatives, were pasteurized, and need not be refrigerated.
 2          Del Monte cannot reasonably make the argument that it did not have every possible
 3   incentive to fully defend the Fresh Del Monte action, especially concerning its marketing and
 4   labeling of its food products, which was at the heart of the Lanham Act violation in the Fresh Del
 5   Monte action. The potential for future litigation was undeniably foreseeable.
 6                          c.     There are No Prior Inconsistent Judgments in Favor of Del
                                   Monte.
 7
            Plaintiff is unaware of any prior judgment that is inconsistent with the jury verdict in the
 8
     Fresh Del Monte action. Therefore, the judgment relied upon as a basis for the estoppel is not
 9
     inconsistent with one or more previous judgments in favor of Del Monte.
10
                            d.     The Present Litigation Does Not Afford Del Monte Procedural
11                                 Opportunities Unavailable in the Fresh Del Monte Action that
                                   Could Cause or Result in a Different Outcome
12
            Lastly, there are no procedural opportunities available to Del Monte in this case that were
13
     not available in the Fresh Del Monte action of a kind that might be likely to cause a different result.
14
     Del Monte had approximately three and a half years to introduce all theories, evidence, and
15
     arguments in the Fresh Del Monte action. They cannot now come forward and ask for a “second
16
     chance” to introduce evidence that could have been introduced in the Fresh Del Monte action.
17
                    3.      The issues at stake are identical to those actually litigated in the prior
18                          action.
19          The “identity of issues” factor does not necessarily mean that the issues of law and fact
20   sought to be precluded have to be identical; rather, the focus of the inquiry is whether the issues of
21   fact and law to be litigated in the second action are substantially or in substance the same as those
22   that were litigated in the prior action. See Montana v. United States, 440 U.S. 147, 155 (1979) (the
23   application of collateral estoppel necessitates an inquiry into whether the “issues presented . . . are
24   in substance the same as those resolved” in the prior action).
25          The Ninth Circuit considers four factors in determining whether an issue is identical to an
26   issue previously litigated:
27          (1) is there a substantial overlap between the evidence or argument to be advanced in
            the second proceeding and that advanced in the first?
28

                      PLAINTIFFS’ MOTION FOR APPLICATION OF COLLATERAL ESTOPPEL
                                        CASE NO. CV 12-01722 YGR
                                                                                                         11
      Case 4:12-cv-01722-YGR Document 50 Filed 11/05/12 Page 20 of 28



 1          (2) does the new evidence or argument involve the application of the same rule of
            law as that involved in the prior proceeding?
 2
            (3) could pretrial preparation and discovery related to the matter presented in the
 3          first action reasonably be expected to have embraced the matter sought to be
            presented in the second?
 4
            (4) how closely related are the claims involved in the two proceedings?
 5
     Steen v. John Hancock Life Ins. Co., 106 F.3d 904, 912 (9th Cir. 1997); Kamilche Co. v. United
 6
     States, 53 F.3d 1059, 1062 (9th Cir. 1995) (citing RESTATEMENT (SECOND) OF JUDGMENTS § 27,
 7
     cmt. c); see also Starker v. United States, 602 F.2d at 1344.
 8
            Plaintiffs claim that Del Monte falsely marketed its Fruit Bowls, Fruit Naturals, Superfruit,
 9
     and SunFresh food products as “fresh” with the intent to deceive consumers into believing that its
10
     preserved, pasteurized products were actually fresh fruit. In the Fresh Del Monte action, the jury
11
     found that Del Monte did exactly this.
12
            The plaintiff in Fresh Del Monte brought claims against Del Monte for breach of contract
13
     and violation of the Lanham Act. Plaintiffs sub judice bring their cause of action in violation of
14
     California Business and Professions Code § 17200. The Ninth Circuit has held that “actions
15
     pursuant to California Business and Professions Code § 17200 are substantially congruent to claims
16
     made under the Lanham Act.” Cleary v. News Corp., 30 F.3d 1255, 1262-63 (9th Cir. 1994). In
17
     finding a violation of the Lanham Act, the jury in the Fresh Del Monte trial found that the plaintiff
18
     had proven the elements required under the Lanham Act. To prevail on a false advertising claim
19
     under the § 43(a) of the Lanham Act, a plaintiff must establish the following elements:
20
            1) in its ... advertisements, defendant made false statements of fact about its own
21             product;
22          2) those advertisements actually deceived or have the tendency to deceive a
               substantial segment of their audience;
23
            3) such deception is material, in that it is likely to influence the purchasing
24             decision;
25          4) defendant caused its falsely advertised goods to enter interstate commerce; and
26          5) plaintiff has been or is likely to be injured as a result of the foregoing either by
               direct diversion of sales from itself to defendant, or by lessening of the good
27             will which its products enjoy with the buying public.
28

                     PLAINTIFFS’ MOTION FOR APPLICATION OF COLLATERAL ESTOPPEL
                                       CASE NO. CV 12-01722 YGR
                                                                                                       12
      Case 4:12-cv-01722-YGR Document 50 Filed 11/05/12 Page 21 of 28



 1   Cook, Perkiss and Liehe, Inc. v. Northern California Collection Service, 911 F.2d 242, 244 (9th
 2   Cir.1990). To demonstrate falsity, a claimant generally must show either: (1) that the statement is
 3   literally false, or (2) that although literally true, the statement is likely to mislead, confuse, or
 4   deceive consumers. S.C. Johnson & Son, Inc. v. Clorox Co., 241 F.3d 232, 238 (2d Cir. 2001);
 5   United Indus. Corp. v. Clorox Co., 140 F.3d 1175, 1179 (8th Cir. 1998); Southland Sod Farms v.
 6   Stover Seed Co., 108 F.3d 1134, 1139–40 (9th Cir. 1997).
 7          Plaintiffs bring claims against Del Monte under identical federal and California statutes that
 8   regulate the content of labels on packaged food and under Business and Professions Code § 17200,
 9   et seq. for Del Monte’s misbranding of its products. To prevail on a claim of violation of § 17200,
10   et seq., a plaintiff must establish one of the following elements:
11              1) that the defendant engaged in an unlawful business act or practice, here, violation of
                   Health & Safety Code, § 109875 et seq., (the Sherman Law), which makes it
12                 unlawful to misbrand food products;
13              2) that the defendant engaged in an unfair business act or practice; and
14              3) that the defendant engaged in a fraudulent business act or practice.
15   Klein v. Earth Elements, Inc., 59 Cal.App.4th 965, 969-70 (Cal. App. 2007).
16          A jury has already determined that Del Monte’s advertising is false based on its product
17   mislabeling. Del Monte’s mislabeling is proof that it engaged in unlawful, unfair and fraudulent
18   business acts and practices. In fact, in accordance with the jury’s verdict, Del Monte is changing its
19   products’ labels to accurately reflect that its products contain “preservatives,” are pasteurized, and
20   only need be “refrigerated for quality.” Further, a Lanham Act violation is substantially the same as
21   a violation under California Business and Professions Code § 17200, et seq., Accordingly, Del
22   Monte should not be given another opportunity to escape liability when a court of competent
23   jurisdiction has already found that Del Monte’s actions were false and misleading.
24          The identity of issues factor is easily satisfied by the overwhelming overlap between the
25   elements that Plaintiffs must establish in the present litigation and the elements that Fresh Del
26   Monte proved in support of its Lanham Act claim. Moreover, the discovery and pretrial preparation
27   that Plaintiffs must undertake in this litigation relate to Del Monte’s unlawful labeling of its food
28   products, and to issues that were already litigated in Fresh Del Monte. Testimony in the Fresh Del

                     PLAINTIFFS’ MOTION FOR APPLICATION OF COLLATERAL ESTOPPEL
                                       CASE NO. CV 12-01722 YGR
                                                                                                        13
      Case 4:12-cv-01722-YGR Document 50 Filed 11/05/12 Page 22 of 28



 1   Monte trial established that Del Monte had labeled its Fruit Bowl, Fruit Naturals, Superfruit and
 2   SunFresh products as “Must Be Refrigerated,” and failed to indicate that the products contained
 3   preservatives and were pasteurized.
 4          Plaintiffs respectfully request that the Court grant preclusive effect to the issues already
 5   determined in the Fresh Del Monte action relating to the common questions of law and fact which
 6   will undoubtedly arise in this litigation, such as the conclusion (and underlying findings of fact in
 7   support of said conclusion) that Del Monte misbranded its food by failing to label its products as
 8   pasteurized, containing preservatives, and stating the product “Must Be Refrigerated” when
 9   refrigeration was not required.
10                  4.     The issues were actually litigated in the prior action.
11          An issue is actually litigated if “the prior determination of an issue is conclusive in a
12   subsequent suit between the same parties as to that issue and every matter which might have been
13   urged to sustain or defeat its determination.” Pacific Mut. Life Ins. Co. v. McConnell, 44 Cal.2d
14   715, 724-725 (Cal. 1955). Once an issue is litigated and determined, it is binding in a subsequent
15   action notwithstanding that a party may have omitted to raise matters for or against it which if
16   asserted might have produced a different outcome.” Carroll v. Puritan Leasing Co., 77 Cal.App.3d
17   481, 490 (1978). An issue is actually litigated “[w]hen [it] is properly raised, by the pleadings or
18   otherwise, and is submitted for determination, and is determined. . .” RESTATEMENT (SECOND) OF
19   JUDGMENTS § 27, cmt. d, p. 255); see also 18-132 MOORE'S FEDERAL PRACTICE - CIVIL §
20   132.03(2)(a) (“The ‘actually litigated’ requirement simply requires the issue to have been raised,
21   contested by the parties, submitted for determination by the court, and determined.”)
22          The issues sought to be precluded were actually litigated in the Fresh Del Monte case. This
23   is not a case where Del Monte may have ignored an issue or fact because they found it to be
24   irrelevant or unimportant. Each element of Fresh Del Monte’s action against Del Monte was
25   essential to its proving that Del Monte had violated the Lanham Act and engaged in a misbranding
26   campaign. With full knowledge of Fresh Del Monte’s claims against them, Del Monte did its best
27   to litigate each and every factual allegation, but was ultimately unsuccessful, as the jury found Del
28   Monte had mislabeled its Fruit Bowl, Fruit Naturals, Superfruit and SunFresh products.

                     PLAINTIFFS’ MOTION FOR APPLICATION OF COLLATERAL ESTOPPEL
                                       CASE NO. CV 12-01722 YGR
                                                                                                       14
      Case 4:12-cv-01722-YGR Document 50 Filed 11/05/12 Page 23 of 28



 1                  5.       The determination of the issues in the prior litigation was a critical and
                             necessary part of the judgment.
 2
            A decision on the merits of the issue must have been “necessary” to the first judgment, in
 3
     the sense that, without a decision on the issue, the court could not have rendered a judgment. Segal
 4
     v. American Tele. & Tele. Co., 606 F.2d 842, 845 (9th Cir. 1979) (per curiam); RESTATEMENT
 5
     (SECOND) OF JUDGMENTS § 27, cmt. j. However, “[w]here a judgment rests on alternative grounds
 6
     it is conclusive on all such grounds in a later action.” FDIC v. Continental Casualty Co., 796 F.
 7
     Supp. 1344, 1348 (D. Or. 1991); In re Westgate-California Corp., 642 F.2d 1174, 1176 (9th Cir.
 8
     1981) (“even though the court rests its judgment upon two or more grounds, the judgment
 9
     concludes each adjudicated issue that is necessary to support any of the grounds upon which the
10
     judgment is rested”).
11
            The “issues precluded” set out above were derived from the issues as stated in the Joint
12
     Pretrial Order, the court’s charge, and the verdict form. They are the issues that the parties and the
13
     court in the Fresh Del Monte action determined that the jury needed to decide to reach the verdict it
14
     reached, and those issues were essential to the jury’s finding that Del Monte had engaged in false
15
     advertising in violation of the Lanham Act. In order to be successful on the Lanham Act claim at
16
     trial, Fresh Del Monte had to prove Del Monte’s product labels were in fact false. Fresh Del Monte
17
     succeeded on its Lanham Act violation at trial. Thus, it was necessarily decided that Del Monte had
18
     in fact engaged in false labeling on its products.
19
            The conclusions of law and findings of fact made by the jury in the Fresh Del Monte action,
20
     of which Plaintiffs seek preclusive effect, should all be given preclusive effect because these facts
21
     were central to the jury’s ultimate finding that Del Monte violated the Lanham Act by engaging in
22
     false advertising by misbranding its food products.
23
                    6.       There was a full and fair opportunity to litigate the issues in the previous
24                           action.
25          Although the party asserting issue preclusion has the burden of showing what issues were

26   previously litigated, “the burden to show that there was no full and fair opportunity in a prior

27   litigation rests on the party opposing issue preclusive effect.” 18-132 MOORE'S FEDERAL PRACTICE

28   - CIVIL § 132.05(1); see also Kulak v. City of New York, 88 F.3d 63, 72 (2d Cir. 1996) (“[I]ssue

                     PLAINTIFFS’ MOTION FOR APPLICATION OF COLLATERAL ESTOPPEL
                                       CASE NO. CV 12-01722 YGR
                                                                                                        15
      Case 4:12-cv-01722-YGR Document 50 Filed 11/05/12 Page 24 of 28



 1   preclusion would not block [plaintiff's] claims if he could show that he did not have a full and fair
 2   opportunity to litigate the issues in the prior proceeding.”).
 3          The party resisting the application of collateral estoppel cannot show that the application of
 4   collateral estoppel would be unfair based on an argument that the court in the prior proceeding “got
 5   it wrong.” While the Ninth Circuit has implied that it might be unfair to impose collateral estoppel
 6   where the earlier court “may have reached an erroneous conclusion,” Eureka Fed. Sav. & Loan
 7   Ass'n v. American Casualty Co., 873 F.2d 229, 234 (9th Cir. 1989), it has also said that even though
 8   a case may have been “decided incorrectly, this is an insufficient basis to defeat the application of
 9   collateral estoppel,” Peck v. Commissioner, 904 F.2d 525, 529 (9th Cir. 1990). In Bates v. Union
10   Oil Co., the court said that when it is claimed that there was legal error in the earlier judgment “the
11   way to correct that error was by appeal in the [earlier] case.” 944 F.2d at 651 (ruling that it was not
12   unfair to apply offensive collateral estoppel to a prior judgment where the defendant settled the case
13   and dismissed its appeal “even though that judgment may not be free from legal error.”).
14   Furthermore, “a fact, question or right distinctly adjudged in the original action cannot be disputed
15   in a subsequent action, even though the determination was reached upon an erroneous view or by an
16   erroneous application of the law.” Richey v. United States IRS, 9 F.3d 1407, 1410 (9th Cir. 1993)
17   (quoting Montana, 440 U.S. at 162 (quoting United States v. Moser, 266 U.S. 236, 242 (1924))).
18                  7.      The issues were lost as a result of a final judgment in the previous
                            action.
19
            To be “final” for issue preclusion purposes, a decision need not possess “finality” in the
20
     sense of 28 U.S.C. § 1291. Syverson v. IBM, 472 F.3d 1072, 1079 (9th Cir. 2007); Luben Indus.,
21
     Inc. v. United States, 707 F.2d 1037, 1040 (9th Cir. 1983). Instead, the proper query is whether the
22
     court's decision on the issue as to which preclusion is sought is final. Syverson, 472 F.3d at 1079.
23
     In order to satisfy the finality of earlier resolution category, it must be shown that the issues sought
24
     to be precluded were determined by a valid and binding final judgment or order. “[F]or purposes of
25
     issue preclusion . . . ‘final judgment’ includes any prior adjudication of an issue in another action
26
     that is determined to be sufficiently firm to be accorded conclusive effect.” RESTATEMENT
27
     (SECOND) OF JUDGMENTS § 13. “‘Finality’ in the context [of issue preclusion] . . . may mean little
28

                      PLAINTIFFS’ MOTION FOR APPLICATION OF COLLATERAL ESTOPPEL
                                        CASE NO. CV 12-01722 YGR
                                                                                                          16
      Case 4:12-cv-01722-YGR Document 50 Filed 11/05/12 Page 25 of 28



 1   more than that the litigation of a particular issue has reached such a stage that a court sees no really
 2   good reason for permitting it to be litigated again.” Lummus Co. v. Commonwealth Oil Refining
 3   Co., 297 F.2d 80, 89 (2d Cir. 1961) (Friendly, J.).
 4          Under this standard of finality, a jury verdict on liability can be final for collateral estoppel
 5   purposes even though there is not yet a final judgment. See, e.g., RecoverEdge L.P. v. Pentecost,
 6   44 F.3d 1284, 1295 (5th Cir. 1995) (noting that “a final judgment is not a prerequisite for issue
 7   preclusion when a jury has rendered a conclusive verdict”); John Morrell & Co. v. Local Union
 8   304A, 913 F.2d 544, 563 (8th Cir. 1990) (jury’s liability finding given preclusive effect even though
 9   damages had yet to be determined); Davenport v. De Robertis, 844 F.2d 1310, 1313-14 (7th Cir.
10   1988) (noting that the “jury's verdict would bind the judge under the doctrine of [issue preclusion]
11   (thus demonstrating that the doctrine does not require a final judgment in the conventional
12   sense).”); RESTATEMENT (SECOND) OF JUDGMENTS § 13 cmt. g, illus. 3 (illustrating that jury verdict
13   rendered before entry of final judgment is conclusive for purposes of issue preclusion).
14          The Fresh Del Monte jury did not just decide that Del Monte violated the Lanham Act.
15   Rather, the jury’s obligation as fact finder was to present to the appellate courts, the parties, and the
16   public all the relevant facts which had been proven by a preponderance of the evidence, consisting
17   of testimony and exhibits, so that the appellate courts would have before them all the factual
18   determinations they need to decide the numerous legal issues which will unquestionably be raised.
19          Furthermore, Del Monte chose not to challenge the jury’s verdict in the Fresh Del Monte
20   action. There will be no appeal on the merits of the case and the jury’s verdict is now final.20 Thus,
21   the Fresh Del Monte action was final, valid, and binding.
22                  8.      The person against whom collateral estoppel is asserted in the present
                            action was a party or in privity with a party in the previous action.
23
            Del Monte Corporation was a named defendant in the Fresh Del Monte action, and
24
     remained a party throughout the Fresh Del Monte action. Therefore, this factor is satisfied.
25

26
     20
27      In its response to Fresh Del Monte’s motion for a permanent injunction, Del Monte represented
     to the court, “There is no need for an injunction. Del Monte has chosen not to challenge the jury’s
28   verdict. Instead, Del Monte will pay the entirety of the jury’s verdict.” See Gore Decl. Exhibit 4,
     Del Monte’s opposition to motion for permanent injunction, Fresh Del Monte Document 167 at 1.
                     PLAINTIFFS’ MOTION FOR APPLICATION OF COLLATERAL ESTOPPEL
                                       CASE NO. CV 12-01722 YGR
                                                                                                           17
      Case 4:12-cv-01722-YGR Document 50 Filed 11/05/12 Page 26 of 28



 1                  9.      There are no applicable exceptions that would preclude application of
                            collateral estoppel in this case.
 2
            The Ninth Circuit has indicated that the possible application of the limited exceptions to the
 3
     doctrine of collateral estoppel requires three inquiries:
 4
            The Court established that determining when to apply collateral estoppel requires
 5          three inquiries: (1) whether the issues presented are in substance the same in the
            present and prior litigation; (2) whether controlling facts or legal principles have
 6          changed significantly since the prior judgment; and (3) whether “other special
            circumstances warrant an exception to the normal rules of preclusion.”
 7
     Steen v. John Hancock Life Ins. Co., 106 F.3d at913 (quoting Richey v. United States IRS, 9 F.3d
 8
     1407, 1410 (9th Cir. 1993) (quoting Montana v. United States, 440 U.S. at 155)). As discussed
 9
     above, the issues presented in this case are in substance the same as those presented in the Fresh
10
     Del Monte case. There have been no significant changes in controlling facts or legal principals in
11
     the short interval between the Fresh Del Monte verdict and the filing of this motion. And finally,
12
     there are no other “special circumstances” that would warrant a departure from the normal rule.
13
            Once a party is afforded a hearing on an issue that comports with due process, the court will
14
     further question the hearing's fairness for the purposes of applying collateral estoppel only in
15
     certain categories of cases where fairness concerns are especially pronounced.               Avitia v.
16
     Metropolitan Club, 924 F.2d 689, 691 (7th Cir. 1991). Traditionally, the courts have been receptive
17
     to claims of unfairness when (1) the series of proceedings raising the issue preclusion question
18
     involved different forums that afforded litigants disparate measures of procedural protection; (2) the
19
     prevailing party concealed material information in the first case, or (3) the issue was not clearly
20
     relevant to the initial litigation, and so the party being estopped had no incentive to vigorously
21
     litigate the question in the first instance. Id. None of those is present here.
22
     V.     CONCLUSION
23
            For the foregoing reasons, Plaintiffs respectfully request that the Court apply collateral
24
     estoppel to the findings of fact and conclusions of law identified by Plaintiffs herein, and grant such
25
     other relief the Court deems just and appropriate.
26

27
28

                      PLAINTIFFS’ MOTION FOR APPLICATION OF COLLATERAL ESTOPPEL
                                        CASE NO. CV 12-01722 YGR
                                                                                                         18
      Case 4:12-cv-01722-YGR Document 50 Filed 11/05/12 Page 27 of 28



 1

 2   Dated: November 5, 2012
                                                Respectfully submitted,
 3

 4

 5                                              /s/ Ben F. Pierce Gore
                                                Ben F. Pierce Gore (SBN 128515)
 6                                              PRATT & ASSOCIATES
                                                1871 The Alameda, Suite 425
 7                                              San Jose, CA 95126
                                                Telephone: (408) 429-6506
 8                                              pgore@prattattorneys.com

 9                                              Jay Nelkin
                                                Carol Nelkin
10                                              Stuart Nelkin
                                                NELKIN & NELKIN, P.C.
11                                              5417 Chaucer
                                                Houston, Texas 77005
12                                              Telephone: (713) 526-4500
                                                Facsimile: (281) 825-4161
13                                              jnelkin@nelkinpc.com
                                                cnelkin@nelkinpc.com
14                                              snelkin@nelkinpc.com

15                                              Don Barrett
                                                David McMullan, Jr.
16                                              Brian Herrington
                                                Katherine B. Riley
17                                              BARRETT LAW GROUP, P.A.
                                                P.O. Box 927
18                                              404 Court Square North
                                                Lexington, MS 39095
19                                              Telephone: (662) 834-2488
                                                Toll Free: (877) 816-4443
20                                              Fax: (662) 834-2628
                                                dbarrett@barrettlawgroup.com
21                                              donbarrettpa@yahoo.com
                                                bherrington@barrettlawgroup.com
22                                              @barrettlawgroup.com
                                                kbriphone@yahoo.com
23                                              dmcmullan@barrettlawgroup.com

24                                              Charles Barrett
                                                CHARLES BARRETT, P.C.
25                                              6518 Hwy. 100, Suite 210
                                                Nashville, TN 37205
26                                              Telephone: (615) 515-3393
                                                Fax: (615) 515-3395
27                                              charles@cfbfirm.com

28

                  PLAINTIFFS’ MOTION FOR APPLICATION OF COLLATERAL ESTOPPEL
                                    CASE NO. CV 12-01722 YGR
                                                                                  19
     Case 4:12-cv-01722-YGR Document 50 Filed 11/05/12 Page 28 of 28



 1                                            Richard Barrett
                                              Law Offices of Richard R. Barrett, PLLC
 2                                            2086 Old Taylor Road, Suite 1011
                                              Oxford, MS 38655
 3                                            Telephone: (662) 380-5018
                                              Fax: (866) 430-5459
 4                                            rrb@rrblawfirm.net
 5                                            J. Price Coleman
                                              Coleman Law Firm
 6                                            1100 Tyler Avenue, Suite 102
                                              Oxford, MS 38655
 7                                            Telephone: (662) 236-0047
                                              Fax: (662) 513-0072
 8                                            colemanlawfirmpa@bellsouth.net
 9                                            Dewitt M. Lovelace
                                              Alex Peet
10                                            LOVELACE LAW FIRM P.A.
                                              12870 U.S. Hwy 98 West, Suite 200
11                                            Miramar Beach, FL 32550
                                              Telephone: (850) 837-6020
12                                            Fax: (850) 837-4093
                                              dml@lovelacelaw.com
13
                                              David Shelton
14                                            Attorney at Law
                                              1223 Jackson Avenue East, Suite 202
15                                            Oxford, MS 38655
                                              Telephone: (662) 281-1212
16                                            Fax: (662) 281-1312
                                              david@davidsheltonpllc.com
17
                                              Keith M. Fleischman
18                                            Frank Karam
                                              Ananda N. Chaudhuri
19                                            FLEISCHMAN LAW FIRM
                                              565 Fifth Avenue, 7th Floor
20                                            New York, New York 10017
                                              Telephone: 212-880-9571
21                                            keith@fleischmanlawfirm.com
                                              frank@fkaramlaw.com
22                                            achaudhuri@fleischmanlawfirm.com
23                                            Zona Jones
                                              Darren Brown
24                                            PROVOST UMPHREY LAW FIRM LLP
                                              490 Park Street
25                                            P.O. Box 4905
                                              Beaumont, TX 77704
26                                            Telephone: (409) 299-5178
                                              zjones@provostumphrey.com
27                                            dbrown@provostumphrey.com
28                                            Attorneys for Plaintiffs

                PLAINTIFFS’ MOTION FOR APPLICATION OF COLLATERAL ESTOPPEL
                                  CASE NO. CV 12-01722 YGR
                                                                                        20
